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                          UNITED STATES DISTRICT COURT
15
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17
   COUNCIL ON AMERICAN-ISLAMIC                Case No.
18 RELATIONS–CA; VIGILANT LOVE
   COALITION; ASIAN AMERICANS
19 ADVANCING JUSTICE-LOS                      COMPLAINT
   ANGELES; AMERICAN CIVIL
20 LIBERTIES UNION OF SOUTHERN
   CALIFORNIA,
21
             Plaintiffs,
22
        vs.
23
   FEDERAL EMERGENCY
24 MANAGEMENT AGENCY; UNITED
   STATES DEPARTMENT OF
25 HOMELAND SECURITY; UNITED
   STATES DEPARTMENT OF
26 HOMELAND SECURITY LONG
   BEACH FIELD OFFICE; UNITED
27 STATES DEPARTMENT OF
   HOMELAND SECURITY LOS
28 ANGELES FIELD OFFICE; FEDERAL

                                       COMPLAINT
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 1 BUREAU OF INVESTIGATION LOS
   ANGELES FIELD OFFICE; UNITED
 2 STATES ATTORNEY’S OFFICE FOR
   THE CENTRAL DISTRICT OF
 3 CALIFORNIA,
 4              Defendants.
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 1                                   INTRODUCTION
 2         1.    This action, brought by several leading civil rights and community-
 3 based organizations, arises from government activities in “Countering Violent
 4 Extremism” (“CVE”), a controversial federal program that purportedly seeks to
 5 prevent and deter terrorism through community-based engagement.
 6         2.    CVE programming potentially threatens the free exercise of First
 7 Amendment rights by casting suspicion on the beliefs, associations, and expressive
 8 activities of certain communities and individuals, particularly American Muslims,
 9 and by tasking community members with monitoring and reporting one another to
10 government entities, including law enforcement. Entities within the federal
11 government, including Defendants, have provided the public with little information
12 about their CVE programming. Timely public disclosure of the requested
13 information is essential to ascertain the motivation, goals, and impact of the federal
14 government’s CVE programming on the public.
15         3.    More than three months ago, on or around July 7, 2017, Plaintiffs
16 submitted to a number of federal agencies a request (the “Request”) pursuant to the
17 Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. The Request seeks to
18 uncover information about the government’s CVE activities, which to date remain
19 shrouded in secrecy. Plaintiffs know that the government has a significant number
20 of documents responsive to the Request including, but not limited to, applications
21 submitted by nonprofit organizations, state and local government agencies, and
22 educational institutions for a CVE grant program (the “CVE Grant Program”)
23 recently launched by the federal government. It also has documents related to the
24 list of recipients who were awarded grants by the current administration, which
25 supersedes a different list of grantees awarded by the previous administration.
26 Nevertheless, Defendants have utterly failed to acknowledge or respond to the
27 Request, in violation of FOIA and its implementing regulations.
28

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 1        4.     Plaintiffs seek declaratory, injunctive, and other appropriate relief with
 2 respect to Defendants’ responses to the Request.
 3                            JURISDICTION AND VENUE
 4        5.     This Court has both subject matter jurisdiction over the FOIA claims
 5 asserted here and personal jurisdiction over the parties to this action pursuant to 5
 6 U.S.C. § 552(a)(4)(B) and § 552(a)(6)(E)(iii). This Court also has jurisdiction over
 7 this action pursuant to 28 U.S.C. § 1331 and 5 U.S.C. §§ 701-06.
 8        6.     Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).
 9                                        PARTIES
10        7.     Plaintiff Council on American-Islamic Relations–CA, Greater Los
11 Angeles Office (“CAIR-LA”) is the Los Angeles office of a nonprofit, grassroots
12 civil rights and advocacy organization with an office in the greater Los Angeles
13 area. CAIR-LA is the local chapter of CAIR California and is part of America’s
14 largest national Muslim civil liberties organization. CAIR seeks to enhance
15 understanding of Islam, encourage dialogue, protect civil liberties, empower
16 American Muslims, and build coalitions that promote justice and mutual
17 understanding. Consistent with its mission, CAIR-LA opposes domestic policies
18 that permit racial, ethnic, or religious profiling. On multiple occasions, CAIR has
19 made known its concerns about the negative impact of CVE programs, including the
20 improper characterization of American Muslims as a suspect community and the
21 furtherance of ongoing abusive surveillance and monitoring practices, particularly of
22 mosques and American Muslims in the Los Angeles area. CAIR-LA uses state and
23 federal public records laws to obtain information concerning government activities
24 that may adversely affect the communities that it serves.
25        8.     Plaintiff Vigilant Love Coalition is a community-based grassroots
26 coalition of allies using the power of solidarity and #VigilantLOVE to actively
27 defend the safety and justice of the communities and individuals affected by
28 Islamophobia in the greater Los Angeles area. Given Vigilant Love Coalition’s

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 1 mission, membership, and efforts, it is particularly concerned with the negative
 2 impacts of the involvement of local government officials and agencies in the highly
 3 controversial CVE programs that, inter alia, characterize members of the American
 4 Muslim communities as “violent extremists” and may fuel the very Islamophobia
 5 that the Vigilant Love Coalition works to combat.
 6        9.     Plaintiff Asian Americans Advancing Justice – Los Angeles
 7 (“Advancing Justice-LA”) is a 501(c)(3) nonprofit organization whose mission is to
 8 advocate for civil rights, provide legal services and education, and build coalitions
 9 to positively influence and impact Asian Americans, Native Hawaiians, and Pacific
10 Islanders and to create a more equitable and harmonious society. Founded in 1983
11 as the Asian Pacific American Legal Center, Advancing Justice-LA serves more
12 than 15,000 individuals and organizations every year through direct services, impact
13 litigation, policy advocacy, leadership development, and capacity building. In
14 support of its mission, Advancing Justice-LA uses state and federal public records
15 laws to obtain information concerning government activities that may adversely
16 affect the communities that it serves. On multiple occasions, Advancing Justice-LA
17 has publicly raised its concerns about the negative impact of CVE programs on
18 communities across the country, including their stigmatizing impact on targeted
19 Muslim communities and their potential threat to religious exercise and political
20 expression by tasking community members with monitoring and reporting on
21 supposed “radical” and “suspicious” thought and behavior to law enforcement.
22        10.    Petitioner American Civil Liberties Union Foundation of Southern
23 California (“ACLU SoCal”) is a nonprofit, nonpartisan organization under the laws
24 of the state of California with over 120,000 members. As an affiliate of the national
25 American Civil Liberties Union, ACLU SoCal is dedicated to the principles of
26 liberty and equality embodied in the both the United States and California
27 constitutions and our nations’ civil rights laws. ACLU SoCal is committed to
28 principles of transparency and accountability and uses state and federal public

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 1 records laws to ensure that the public is informed about the conduct of government
 2 officials. ACLU SoCal uses such records to compile information for publication in
 3 reports published in hard copy and distributed electronically through its website, in
 4 amicus briefs, in legislative and public advocacy efforts, and in litigation. On
 5 multiple occasions, ACLU SoCal has publicly raised its concerns about the negative
 6 impact of CVE programs on communities both in Greater Los Angeles and
 7 nationwide, including their stigmatizing impact on targeted Muslim communities
 8 and their potential threat to religious exercise and political expression by tasking
 9 community members with monitoring and reporting on supposed “radical” and
10 “suspicious” thought and behavior to law enforcement, as discussed infra.
11         11.   Defendant Federal Emergency Management Agency (“FEMA”) is a
12 component of DHS and is an establishment in the executive branch of the
13 government and therefore an agency within the meaning of 5 U.S.C. § 552(f)(1).
14 FEMA is responsible for building, sustaining, and strengthening the country’s
15 “capability to prepare for, protect against, respond to, recover from and mitigate all
16 hazards.” FEMA, About the Agency, https://www.fema.gov/about-agency. FEMA
17 is also involved in administering the CVE Grant Program.
18         12.   Defendant U.S. Department of Homeland Security (“DHS”) is a
19 department of the executive branch of the United States and is an agency within the
20 meaning of 5 U.S.C. § 552(f)(1). DHS is responsible for guarding against terrorism,
21 securing U.S. borders, enforcing U.S. immigration laws, and responding to disasters.
22 DHS and its components have been leading the administration and implementation
23 of the CVE Grant Program.
24         13.   Defendant DHS Los Angeles Field Office (“DHS Los Angeles”) is
25 located at 300 North Los Angeles Street, Los Angeles, California 90012. DHS Los
26 Angeles is one of DHS’s main field offices in Greater Los Angeles, one of the areas
27 selected by the U.S. Department of Justice (“DOJ”) as a CVE pilot region, as
28 discussed infra.

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 1          14.   Defendant DHS Long Beach Field Office (“DHS Long Beach”) is
 2 located at 501 West Ocean Boulevard, Long Beach, California 90802. DHS Long
 3 Beach is one of DHS’s main field offices in Greater Los Angeles, one of the areas
 4 selected by DOJ as a CVE pilot region, as discussed infra.
 5          15.   Defendant Federal Bureau of Investigation (“FBI”) Los Angeles Field
 6 Office (“FBI Los Angeles”) is located at 11000 Wilshire Boulevard, Suite 1700, Los
 7 Angeles, California 90024. FBI Los Angeles is the FBI’s main office in Greater Los
 8 Angeles, one of the regions selected by DOJ as a CVE pilot region, as discussed
 9 infra.
10          16.   Defendant United States Attorney’s Office for the Central District of
11 California (“U.S.A.O., C.D. Cal.”) is located at 300 N. Los Angeles Street,
12 7th Floor, Los Angeles, California 90012. As the U.S. Attorney’s Office in Greater
13 Los Angeles, one of the regions selected by DOJ as a CVE pilot region, U.S.A.O.,
14 C.D. Cal., has been heavily involved in CVE programming in the region, as
15 discussed infra.
16                            STATUTORY FRAMEWORK
17          17.   The Freedom of Information Act, 5 U.S.C. § 552, mandates disclosure
18 of records held by a federal agency in response to a request for such records by a
19 member of the public, unless those records fall within one of nine narrow statutory
20 exemptions.
21          18.   The basic purpose of FOIA is to enable the public to hold the
22 government accountable for its actions, through transparency and public scrutiny of
23 governmental operations and activities. By providing access to government
24 information, FOIA helps the public better understand the government, thereby
25 enabling a vibrant and functioning democracy.
26          19.   Any member of the public may make a request under FOIA for records
27 to an agency of the United States. An agency that receives a FOIA request must
28 notify the requestor within twenty business days after the receipt of the request. 5

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 1 U.S.C. § 552(a)(6)(A)(i). In its response, the agency must inform the requestor
 2 whether or not it intends to comply with the request, provide reasons for its
 3 determination, and inform the requestor of his or her right to appeal the
 4 determination. Id.
 5         20.    FOIA requires an agency to make a reasonable search for responsive
 6 records. Weisberg v. U.S. Dep’t of Justice, 627 F.2d 365, 371 (D.C. Cir. 1980).
 7         21.    FOIA requires an agency to timely disclose all records responsive to a
 8 FOIA request that do not fall within one of nine narrowly construed statutory
 9 exemptions. 5 U.S.C. §§ 552(a)(3)(A), 552(b)(1)-(9).
10         22.    A FOIA requestor is deemed to have exhausted his or her
11 administrative remedies if the agency fails to comply with the statutory time limits
12 for responding to a request. 5 U.S.C. § 552(a)(6)(C)(i). At that point, the requestor
13 may immediately file suit in federal court to obtain the requested documents. Kelly
14 v. U.S. Census Bureau, 540 F. App’x 749, 750 (9th Cir. 2013) (unpublished) (noting
15 that “person is deemed to exhaust administrative remedies if the agency fails to
16 respond to a request under applicable time limits”), as amended on denial of reh’g
17 (Dec. 9, 2013).
18         23.    A district court has jurisdiction to enjoin the agency from withholding
19 records, to order production of records that are subject to disclosure, and to grant a
20 public interest fee waiver of any costs associated with the production of such
21 records. 5 U.S.C. §§ 552(a)(4)(B), 552(a)(4)(A)(iii).
22         24.    Documents shall be furnished without charge or at a reduced charge if
23 disclosure of the information is in the public interest because it “is likely to
24 contribute significantly to public understanding of the operations or activities of the
25 government” and is “not primarily in the commercial interest of the requester.” 5
26 U.S.C. § 552(a)(4)(A)(iii). Requests for fee waivers are to be “liberally construed in
27 favor of waivers for noncommercial requesters.” Envtl. Prot. Info. Ctr. v. U.S.
28 Forest Serv., 432 F.3d 945, 947 (9th Cir. 2005) (citations omitted).

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 1         25.   A requestor may also seek a waiver of search and review fees on the
 2 grounds that the requestor is a “representative of the news media” and the records
 3 are not sought for a commercial purpose. See 5 U.S.C. § 552(a)(4)(A)(ii). A
 4 representative of the news media is “any person or entity that gathers information of
 5 potential interest to a segment of the public, uses its editorial skills to turn the raw
 6 materials into a distinct work, and distributes that work to an audience.” Id.
 7         26.   A FOIA requestor who has been denied records or a waiver of fees
 8 associated with the search and production of records may appeal such denials to the
 9 agency. The agency must make a determination on the appeal within twenty
10 business days of receipt of the appeal. 5 U.S.C. § 552(a)(6)(A)(ii).
11         27.   FOIA also requires an agency to produce records on an expedited basis
12 when there is a “compelling need” for expedition. 5 U.S.C. § 552(a)(6)(E)(i). A
13 compelling need is established if a person “primarily engaged in disseminating
14 information” shows an “urgency to inform the public concerning actual or alleged
15 Federal Government activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II); accord 28 C.F.R.
16 § 16.5(e)(1)(ii) (DOJ regulations); 6 C.F.R. § 5.5(e)(1)(ii) (DHS regulations). A
17 FOIA requestor may also be entitled to expedited processing on the grounds that the
18 records sought relate to a “matter of widespread and exceptional media interest in
19 which there exist possible questions about the government’s integrity which affect
20 public confidence.” 28 C.F.R. §16.5(e)(1)(iv) (DOJ regulations).
21                              FACTUAL BACKGROUND
22                         Background of Federal CVE Activities
23         28.   Based on the purported goal of preventing violent extremists and their
24 supporters from inspiring, radicalizing, financing, or recruiting individuals or groups
25 in the United States to commit violent acts, the federal government has adopted and
26 endorsed CVE programming as a counter-terrorism measure. Although in some
27 instances CVE programs may direct targeted individuals to mental health or other
28 services, they more generally rely on ill-conceived methodologies for identifying

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  1 “radicalization” that chill First-Amendment protected activity. On information and
  2 belief, CVE programs may call on community members to act as a conduit for law
  3 enforcement surveillance of “radical” and “suspicious” thought and behavior within
  4 their own communities.
  5        29.    The federal government began publicly considering CVE activities in
  6 2011. In August 2011, the White House made public the National Strategy for
  7 Empowering Local Partners to Prevent Violent Extremism in the United States. The
  8 strategy emphasized that “[p]rotecting American communities from al-Qa’ida’s
  9 hateful ideology is not the work of the government alone” and that “[c]ommunities –
 10 especially Muslim American communities whose children, families and neighbors
 11 are being targeted for recruitment by al-Qa’ida – are often best positioned to take the
 12 lead because they know their communities the best.” The strategy further
 13 recognized that Muslim American communities have previously “worked with law
 14 enforcement to help prevent terrorist attacks and forged creative programs to protect
 15 their sons and daughters from al-Qa’ida’s murderous ideology.”
 16        30.    In September 2011, the White House announced a strategic
 17 implementation plan detailing how it would put into action the national strategy it
 18 had released the previous month. The plan described federal support for
 19 “empowering local stakeholders to build resilience against violent extremism” and
 20 “preventative programming.” The plan further noted that the federal government
 21 will “prioritize preventing violent extremism and terrorism that is inspired by al-
 22 Qa’ida and its affiliates and adherents.” The plan identified an “overarching goal of
 23 preventing violent extremists and their supporters from inspiring, radicalizing,
 24 financing or recruiting individuals or groups in the United States to commit acts of
 25 violence” and expressed support for “community-led efforts to build resilience to
 26 violent extremism” and “preventative programming.”
 27        31.    In September 2014, then-Attorney General Eric Holder announced a
 28 “series of pilot programs in cities across the country to bring together community

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  1 representatives, public safety officials and religious leaders to counter violent
  2 extremism.” U.S. Dep’t of Justice, Attorney General Holder Announces Pilot
  3 Program to Counter Violent Extremists (Sept. 15, 2014),
  4 https://www.justice.gov/opa/pr/attorney-general-holder-announces-pilot-program-
  5 counter-violent-extremists. The announcement said it was launching a new CVE
  6 pilot program as a response to “the emergence of groups like ISIL, and the
  7 knowledge that some Americans are attempting to travel to countries like Syria and
  8 Iraq.” Id. Adding to the existing work of law enforcement agencies like the FBI
  9 and INTERPOL to identify “foreign fighters in Syria and Iraq” and “American
 10 extremists,” the CVE pilot aimed to “bring together community representatives,
 11 public safety officials, religious leaders, and United States Attorneys to improve
 12 local engagement; to counter violent extremism; and—ultimately—to build a broad
 13 network of community partnerships to keep our nation safe.” Id. The program was
 14 to be run in partnership with the White House, DHS, and the National
 15 Counterterrorism Center. Id. The pilot program was initially implemented in
 16 Boston, Minneapolis-St. Paul, and Los Angeles. U.S. Dep’t of Justice, Pilot
 17 Programs Are Key to Our Countering Violent Extremism Efforts (Feb. 18, 2015),
 18 https://www.justice.gov/archives/opa/blog/pilot-programs-are-key-our-countering-
 19 violent-extremism-efforts.
 20         32.   On information and belief, DHS, DOJ, FBI, and the U.S. Department
 21 of State formed official offices for CVE in early 2015.
 22         33.   In February 2015, the White House held a three-day summit on CVE
 23 “to bring together local, federal, and international leaders – including President
 24 Obama and foreign ministers – to discuss concrete steps the United States and its
 25 partners can take to develop community-oriented approaches to counter hateful
 26 extremist ideologies that radicalize, recruit or incite to violence.” The White House,
 27 FACT SHEET: The White House Summit on Countering Violent Extremism (Feb.
 28

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  1 18, 2015), https://obamawhitehouse.archives.gov/the-press-office/2015/02/18/fact-
  2 sheet-white-house-summit-countering-violent-extremism.
  3         34.    In its announcement concerning the summit, the White House also
  4 announced a number of new steps in its CVE programming, including the expansion
  5 of “on-the-ground dedicated [DHS] staff to facilitate information sharing,
  6 engagement with local partners, strengthening of community and law enforcement
  7 partnerships, and the local establishment of prevention and intervention
  8 frameworks” to municipalities across the country and “a joint DHS and DOJ
  9 symposium for local partners to collaborate and share best practices on intervention
 10 and prevention framework development and implementation in 2015.” Id.
 11         35.    The White House also announced that it would seek “$15 million in
 12 appropriated funding for the DOJ to support community-led efforts to build
 13 resilience and counter violent extremism in the President’s Budget for Fiscal Year
 14 2016.” Id.
 15
                                Origin of the CVE Grant Program
 16
            36.    Plaintiffs filed their Request to uncover the facts behind the federal
 17
      government’s CVE Grant Program, particularly to get an understanding of the types
 18
      of CVE programs the federal government supports, as well as those programs it has
 19
      decided not to support.
 20
            37.    In December 2015, prompted by appropriation requests from the White
 21
      House, Congress allocated $10 million for DHS’s Office of Community
 22
      Partnerships to administer the CVE Grant Program—specifically, to “provide[] on a
 23
      competitive basis directly to states, local governments, tribal governments, nonprofit
 24
      organizations, or institutions of higher education” to “prepare for, prevent, and
 25
      respond to emergent threats from violent extremism.” As a condition of funding,
 26
      programs were to be evaluated using “individual performance measures that will
 27
      measure [their] success.”
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  1        38.    FEMA has been tasked with, inter alia, administering the CVE Grant
  2 Program, soliciting and evaluating applications, and monitoring the program. In
  3 July 2016, DHS posted a “Notice of Funding Opportunity” (“NOFO”) for the Fiscal
  4 Year 2016 CVE Grant Program. The NOFO solicited applications—to be submitted
  5 no later than September 6, 2016—from states, local governments, tribal
  6 governments, nonprofit organizations, and higher education institutions. The NOFO
  7 further provided, “Applications which describe programs[,] projects or activities
  8 which do not appropriately protect privacy, civil rights or civil liberties will be
  9 deemed ineligible for funding.”
 10              CVE Grant Program Awards Announced, Then Amended
 11        39.    On January 13, 2017, the DHS Office of the Press Secretary released a
 12 “Statement by Secretary Jeh Johnson Announcing First Round of DHS’s Countering
 13 Violent Extremism Grants” (“January 13 Statement”), identifying thirty-one
 14 grantees. The only grantee mentioned by name in the January 13 Statement was
 15 Life After Hate, described as “an organization devoted to the rehabilitation of
 16 former neo-Nazis and other domestic extremists in this country.” A copy of the
 17 January 13 Statement is attached here as Exhibit 1.
 18        40.    Seven days later, on January 20, 2017, the present administration
 19 assumed office.
 20        41.    In February 2017, Reuters reported that the “Trump administration
 21 wants to revamp and rename a U.S. government program designed to counter all
 22 violent ideologies so that it focuses solely on Islamist extremism.” Julia Edwards
 23 Ainsley et al., Exclusive: Trump to focus counter-extremism program solely on
 24 Islam – sources, Reuters (Feb. 1, 2017), http://www.reuters.com/article/us-usa-
 25 trump-extremists-program-exclusiv/exclusive-trump-to-focus-counter-extremism-
 26 program-solely-on-islam-sources-idUSKBN15G5VO. “The program, ‘Countering
 27 Violent Extremism,’ or CVE, would be changed to ‘Countering Islamic Extremism’
 28 or ‘Countering Radical Islamic Extremism,’ the sources said.” Id.

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  1        42.    The administration ultimately chose not to rebrand the CVE program.
  2 However, on June 23, 2017, the DHS Office of the Press Secretary released a
  3 statement titled “DHS Awards Grants to Counter Terrorist Recruitment and
  4 Radicalization in the U.S.” (“June 23 Statement”). The June 23 Statement provided
  5 a hyperlink to a new list of twenty-six grantees under the CVE Grant Program
  6 (“June 23 List”). This June 23 List superseded the list of grantees provided in the
  7 January 13 Statement.
  8        43.    The list of grantees linked in the June 23 Statement differed
  9 significantly from the list of grantees provided in the January 13 Statement.
 10        44.    First, eleven grantees identified in the January 13 Statement were
 11 omitted in the June 23 List, suggesting that the awards to these grantees had been
 12 rescinded. These grantees were:
 13               a. Claremont School of Theology;
 14               b. Coptic Orthodox Charities;
 15               c. Ka Joog Nonprofit Organization;
 16               d. Leaders Advancing and Helping Communities;
 17               e. Life After Hate Inc.;
 18               f. Music in Common;
 19               g. Muslim American Leadership Alliance;
 20               h. Muslim Public Affairs Council Foundation;
 21               i. Project Help Nevada, Inc.;
 22               j. The University of North Carolina at Chapel Hill; and
 23               k. Unity Productions Foundation.
 24        45.    News reports indicate that the current administration withdrew the CVE
 25 grants previously awarded to Muslim Public Affairs Council, Life After Hate Inc.,
 26 and the University of North Carolina at Chapel Hill. See, e.g., Daniel Lippman,
 27 DHS halts planned funding for anti-white extremism group, Politico (June 23,
 28

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  1 2017), http://www.politico.com/story/2017/06/23/playbook-dhs-extremism-life-
  2 after-hate-239889.
  3        46.   News outlets also reported that several groups declined to accept their
  4 CVE grants. See, e.g., Stephen Montemayor, Homeland Security announces two
  5 counterextremism grants for Minnesota, Star Tribune (June 24, 2017), http://www.
  6 startribune.com/homeland-security-announces-two-extremism-grants-for-
  7 minnesota/430455753/ (reporting that Ka Joog declined to accept CVE grant).
  8        47.   Second, the June 23 List suggested that one of two grants to the City of
  9 Los Angeles, Mayor’s Office of Public Safety, listed in the January 13 Statement
 10 had been withdrawn.
 11        48.   Third, the June 23 List indicated that the grant amounts for nine
 12 grantees had been increased, as compared to the grant amounts specified in the
 13 January 13 Statement, as follows:
 14              a. City of Houston, Mayor’s Office of Public Safety & Homeland
 15                 Security (from $400,000 to $500,000);
 16              b. Crisis Intervention Center of Houston, Inc. (from $400,000 to
 17                 $500,000);
 18              c. Denver Police Department (from $240,000 to $481,313);
 19              d. Global Peace Foundation (from $150,000 to $453,497);
 20              e. Heartland Democracy Center (from $165,435 to $423,340);
 21              f. Las Vegas Metropolitan Police Department (from $425,000 to
 22                 $500,000);
 23              g. Masjid Muhammad, Inc. (from $450,000 to $531,195);
 24              h. Police Foundation (from $463,185 to $484,835); and
 25              i. Tuesday’s Children (from $147,154 to $386,670).
 26        49.   Fourth, the June 23 List included seven new grantees that had not been
 27 identified in the January 13 Statement:
 28              a. Alameda County Sheriff’s Office;

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  1               b. Hennepin County Sheriff’s Office;
  2               c. Massachusetts Executive Office of Public Safety and Security;
  3               d. Nashville International Center for Empowerment;
  4               e. National Governors Association (NGA) Center for Best Practices;
  5               f. Seattle Police Department; and
  6               g. University of San Diego.
  7                 Plaintiffs’ Public Opposition to CVE Programming
  8        50.    Since the announcement of Los Angeles as one of the three host
  9 regions of the CVE pilot program, civil rights and community groups in Los
 10 Angeles, including Plaintiffs, have publicly discussed potential problems, including
 11 the civil liberties implications, with CVE programming.
 12        51.    In November 2014, a coalition of civil rights and community-based
 13 organizations, including several of Plaintiffs here, published an open letter to DHS
 14 expressing “grave concerns regarding the government’s proposed Countering
 15 Violent Extremism (CVE) programs,” especially pertaining to “the obvious civil
 16 liberties implications on members of our communities.” Advancing Justice-LA, LA-
 17 Based Groups Serving American Muslim Communities Question Federal
 18 ‘Countering Violent Extremism’ Programs as Ineffective, Stigmatizing (Nov. 13,
 19 2014) (“Coalition Letter”) (attached as Exhibit 2). The Coalition Letter noted that
 20 “the government has failed to provide us or the communities we serve with any
 21 meaningful details about the CVE programs.” Id.; accord Victoria Kim, L.A.
 22 groups criticize White House program on homegrown extremism, L.A. Times (Nov.
 23 13, 2014), http://beta.latimes.com/local/lanow/la-me-ln-la-groups-criticize-
 24 homegrown-extremism-program-20141113-story.html.
 25        52.    Although CVE programs may apply a public health approach towards
 26 preventing ideologically motivated violence, they continue to incorporate law
 27 enforcement oversight and partnership and task community members with
 28 monitoring and reporting “radical” or “suspect” expression and behavior to law

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  1 enforcement. This approach has the potential to chill First-Amendment-protected
  2 activities, such as religious worship, political activism, and expression of ideological
  3 beliefs, because CVE programs frame these activities as potential indicators or
  4 predictors of violence.
  5        53.    CVE programs also have a stigmatizing impact on targeted American
  6 Muslim communities by viewing them as inherently suspect. The primary target of
  7 federal CVE efforts to date has been American Muslim communities, reinforcing the
  8 existing prejudices that such communities are associated with terrorism and violence
  9 and tacitly condoning intolerance.
 10        54.    There is a lack of credible authority that CVE is actually effective as an
 11 anti-terrorism tool. Studies show that violent threats cannot be predicted by any
 12 religious, ideological, ethnic, or racial profiling. Thus, even if CVE programs were
 13 expanded to target other communities, the same concerns would remain, to the
 14 extent the programs continued to rely on racial, ethnic, religious, or ideology-based
 15 indicators.
 16                  Plaintiffs’ California Public Records Act Requests
 17        55.    In August 2015, in the wake of the White House’s summit on CVE and
 18 amidst the City of Los Angeles’ (the “City”) continued participation in the CVE
 19 pilot program, a coalition of Southern California civil rights organizations, including
 20 Advancing Justice-LA, CAIR-LA, and ACLU SoCal, submitted a request under the
 21 California Public Records Act (“PRA”), Cal. Gov. Code § 6250 et seq., to the
 22 Mayor’s Office and other City agencies demanding greater transparency about the
 23 extent and nature of the City’s CVE activities. The City produced only a handful of
 24 documents and failed to produce any documents concerning the City’s CVE
 25 Framework, including records relating to individuals “deemed to be on a path
 26 towards violent extremism.”
 27        56.    On or around February 7, 2017, Plaintiffs submitted another PRA
 28 request to City agencies, renewing its August 2015 PRA request and requesting

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  1 records concerning, inter alia, funding for CVE programming; the involvement of
  2 community partners in CVE activities; and RENEW, a CVE program operated by
  3 the Los Angeles Police Department in partnership with FBI’s Joint Terrorism Task
  4 Forces, the Joint Regional Intelligence Center, and mental health and social services
  5 providers.
  6         57.   After seven months of negotiations with the City, the City failed to
  7 produce records in compliance with its obligations under the PRA. For instance, the
  8 Los Angeles Police Department and the City’s Human Relations Commission—both
  9 well known for being heavily involved in the development of CVE programs in
 10 L.A.—largely failed to provide any documents at all.
 11         58.   As of the date of the filing of this Complaint, Plaintiffs have yet to
 12 receive a full and complete response from the City.
 13                                Plaintiffs’ FOIA Request
 14         59.   On or around July 7, 2017, shortly after DHS released its June 23
 15 Statement, Plaintiffs mailed their Request to the following federal government
 16 agencies, including certain of their components and field offices: DHS, including its
 17 Privacy Office and Los Angeles field offices; DOJ, including the Office of
 18 Community Oriented Policing Services, Office of Information Policy, and Office of
 19 Justice Programs; FBI, including its Los Angeles field office; and FEMA. A copy
 20 of the Request is attached here as Exhibit 3.
 21         60.   On or around September 25, 2017, Plaintiffs mailed their Request to
 22 U.S.A.O., C.D. Cal.
 23         61.   Plaintiffs’ Request seeks information about the federal CVE Grant
 24 Program. The Request seeks all records which were prepared, received, collected,
 25 and/or maintained by any of the agencies listed in the Complaint, including, inter
 26 alia:
 27               a. Communications with all entities that considered submitting and/or
 28                  did submit applications to the CVE Grant Program;

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  1               b. Grant applications submitted to the CVE Grant Program;
  2               c. Records pertaining to the evaluation of applications submitted;
  3               d. Records pertaining to the “policy review of the CVE Grant
  4                  Program” mentioned in the June 23 Statement;
  5               e. Records pertaining to the re-evaluation of applications and any other
  6                  changes made to the CVE Grant Program by the current
  7                  administration;
  8               f. Records pertaining to changes made to the list of grantees, as
  9                  described in paragraphs 39 through 49 above; and
 10               g. Communications with CVE experts, state and local law
 11                  enforcement, and other entities outside the federal government
 12                  concerning the CVE Grant Program.
 13                     Plaintiffs’ Request for Expedited Processing
 14        62.    Plaintiffs’ Request seeks expedited processing because it implicates
 15 matters of public urgency, namely, the nature and extent of the federal government’s
 16 surveillance of American citizens, religious institutions, community groups, and
 17 other persons in the United States in the name of national security.
 18        63.    In connection with their request for expedited processing, Plaintiffs
 19 also explained that they are primarily engaged in disseminating information to the
 20 public. For example, Advancing Justice-LA distributes newsletters, action alerts,
 21 and news updates and maintains a website and social media accounts that publish
 22 information of public concern at no charge.
 23        64.    Plaintiffs further explained in their Request that the records they seek
 24 relate to matters of widespread and exceptional media interest, as evidenced by
 25 articles and broadcast news concerning the CVE Grant Program and changes that
 26 the administration made to the list of grantees. Plaintiffs identified a number of both
 27 regional and national news sources that covered the CVE Grant Program, including
 28 the Los Angeles Times, Washington Post, and New York Times. Since Plaintiffs

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  1 have served their Request, media coverage of the CVE Grant Program has
  2 continued. See, e.g., Ron Nixon and Eileen Sullivan, Revocation of Grants to Help
  3 Fight Hate Under New Scrutiny After Charlottesville, N.Y. Times (Aug. 15, 2017),
  4 https://www.nytimes.com/2017/08/15/us/politics/right-wing-extremism-
  5 charlottesville.html?_r=0.
  6         65.    Each Defendant has failed to acknowledge or respond to Plaintiffs’
  7 Request. Each Defendant has therefore failed to issue any determination on
  8 Plaintiffs’ request for expedited processing.
  9                              Plaintiffs’ Fee Waiver Request
 10         66.    In their Request, Plaintiffs seek a waiver of all search, review, and
 11 duplication fees on the ground that disclosure of the requested records is “in the
 12 public interest because it is likely to contribute significantly to public understanding
 13 of the operations or activities of the government and is not primarily in the
 14 commercial interest of the requester.” 5 U.S.C. § 552(a)(4)(A)(iii); see 6 C.F.R.
 15 § 5.11(k)(1) (DHS regulations); 28 C.F.R. § 16.10(k)(1) (DOJ regulations).
 16 Plaintiffs are nonprofit organizations that intend to disseminate the information they
 17 seek in the Request to the public at no cost.
 18         67.    Plaintiffs also seek a waiver of all search, review, and duplication fees
 19 on the grounds that Plaintiffs qualify as “representative[s] of the news media” and
 20 that the records sought are not for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii); see
 21 6 C.F.R. § 5.11(b)(6) (DHS regulations); 28 C.F.R. § 16.10(b)-(d)(1) (DOJ
 22 regulations). Plaintiffs are representatives of the news media because they gather
 23 information of potential interest to the public, use their editorial skills to turn the
 24 raw materials into a distinct work, and distribute that work to an audience.
 25         68.    Plaintiffs’ Request alone demonstrates that their attempt to collect and
 26 disseminate information regarding the CVE Grant Program meets the requirements
 27 for a fee waiver. Nonetheless, each Defendant has failed to respond to Plaintiffs’
 28 Request, and therefore has yet to decide whether Plaintiffs are entitled to a fee

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  1 waiver. Plaintiffs have therefore administratively exhausted this issue prior to filing
  2 this action.
  3                            Defendants’ Failure to Respond
  4                                         FEMA
  5        69.     FEMA received the Request on or about July 11, 2017 but has never
  6 responded to it. As more than three months have elapsed since FEMA received the
  7 request with no response, Plaintiffs have exhausted their administrative remedies
  8 with respect to FEMA. See 5 U.S.C. §§ 552(a)(6)(A)(i); 552(a)(6)(C)(i).
  9                                          DHS
 10        70.     DHS received the Request on or about July 11, 2017 but has never
 11 responded to it. As more than three months have elapsed since DHS received the
 12 request with no response, Plaintiffs have exhausted their administrative remedies
 13 with respect to DHS. See 5 U.S.C. §§ 552(a)(6)(A)(i); 552(a)(6)(C)(i).
 14                             DHS Los Angeles Field Office
 15        71.     DHS Los Angeles received the Request on or about July 10, 2017 but
 16 has never responded to it. As more than three months have elapsed since DHS Los
 17 Angeles received the request with no response, Plaintiffs have exhausted their
 18 administrative remedies with respect to DHS Los Angeles. See 5 U.S.C. §§
 19 552(a)(6)(A)(i); 552(a)(6)(C)(i).
 20                             DHS Long Beach Field Office
 21        72.     DHS Long Beach received the Request on or about July 10, 2017 but
 22 has never responded to it. As more than three months have elapsed since DHS Long
 23 Beach received the request with no response, Plaintiffs have exhausted their
 24 administrative remedies with respect to DHS Long Beach. See 5 U.S.C. §§
 25 552(a)(6)(A)(i); 552(a)(6)(C)(i).
 26                             FBI Los Angeles Field Office
 27        73.     FBI Los Angeles received the Request on or about July 11, 2017 but
 28 has never responded to it. As more than three months have elapsed since FBI Los

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  1 Angeles received the request with no response, Plaintiffs have exhausted their
  2 administrative remedies with respect to FBI Los Angeles. See 5 U.S.C.
  3 §§ 552(a)(6)(A)(i); 552(a)(6)(C)(i).
  4                                  U.S.A.O., C.D. Cal.
  5        74.   U.S.A.O., C.D. Cal., received the Request on or about September 27,
  6 2017 but has never responded to it. As more than twenty days have elapsed since
  7 U.S.A.O., C.D. Cal., received the request with no response, Plaintiffs have
  8 exhausted their administrative remedies with respect to U.S.A.O., C.D. Cal.
  9                               CLAIMS FOR RELIEF
 10                                        First Claim
 11         Violation of FOIA for Failure To Adjudicate Request for Records
 12                                   (All Defendants)
 13        75.   Plaintiffs reallege and incorporate, as though fully set forth herein, each
 14 and every allegation contained the above paragraphs.
 15        76.   Plaintiffs made a proper FOIA request for information pertaining to
 16 Defendants’ involvement with, and oversight of, CVE programming.
 17        77.   Each named Defendant has failed to acknowledge or respond to
 18 Plaintiffs’ Request.
 19        78.   Defendants’ failure to respond to Plaintiffs’ Request violates 5 U.S.C.
 20 § 552(a)(4)(A) and the regulations promulgated thereunder.
 21                                     Second Claim
 22 Violation of FOIA for Failure To Adequately Search for and Promptly Release
 23                                         Records
 24                                   (All Defendants)
 25        79.   Plaintiffs reallege and incorporate, as though fully set forth herein, each
 26 and every allegation contained the above paragraphs.
 27        80.   Plaintiffs made a proper FOIA request for information pertaining to
 28 Defendants’ involvement with, and oversight of, CVE programming.

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  1        81.    Each named Defendant has failed to acknowledge or respond to
  2 Plaintiffs’ Request.
  3        82.    Defendants have failed to make an adequate search for records
  4 responsive to Plaintiffs’ Request and failed to promptly release the responsive
  5 records sought by Plaintiffs, in violation of 5 U.S.C. § 552(a)(3)(A)-(D).
  6                                      Third Claim
  7          Violation of FOIA for Improper Denial of Expedited Processing
  8                                    (All Defendants)
  9        83.    Plaintiffs reallege and incorporate, as though fully set forth herein, each
 10 and every allegation contained the above paragraphs.
 11        84.    Plaintiffs made a proper FOIA request for information pertaining to
 12 Defendants’ involvement with, and oversight of, CVE programming.
 13        85.    Plaintiffs are entitled to expedited processing because Plaintiffs are
 14 engaged in disseminating information to the public and the public has an urgent
 15 need to be informed about the government’s CVE programming.
 16        86.    Each named Defendant has failed to acknowledge or respond to
 17 Plaintiffs’ request for expedited processing.
 18        87.    Defendants’ failure to respond constitutes a denial of Plaintiffs’ request
 19 for expedited processing of the Request in violation of 5 U.S.C.
 20 § 552(a)(6)(E)(v)(II) and corresponding agency regulations.
 21                                      Fourth Claim
 22        Violation of FOIA for Improper Disposition of Fee Waiver Request
 23                                    (All Defendants)
 24        88.    Plaintiffs reallege and incorporate, as though fully set forth herein, each
 25 and every allegation contained the above paragraphs.
 26        89.    Plaintiffs made a proper FOIA request for information pertaining to
 27 Defendants’ involvement with, and oversight of, CVE programming.
 28

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                                            COMPLAINT
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  1        90.    Plaintiffs are entitled to fee waivers because they are nonprofit
  2 organizations that intend to disseminate the requested information to the public at no
  3 cost. Plaintiffs are further entitled to fee waivers because they are acting as
  4 “representative[s] of the news media” and the records sought are not for commercial
  5 use. 5 U.S.C. § 552(a)(4)(A)(ii).
  6        91.    Each named Defendant has failed to acknowledge or respond to
  7 Plaintiffs’ Request.
  8        92.    Defendants’ failure to respond constitutes a denial of Plaintiffs’ fee
  9 waiver request in violation of 5 U.S.C. §§ 552(a)(4)(A)(ii)-(iii) and corresponding
 10 agency regulations.
 11                                 PRAYER FOR RELIEF
 12        93.    WHEREFORE, Plaintiffs pray for judgment against Defendants as
 13 follows:
 14               a.     For declaratory relief declaring that Defendants’ failure to
 15 properly search for and disclose the records requested by Plaintiffs is unlawful;
 16               b.     For injunctive relief ordering Defendants to expedite processing
 17 of Plaintiffs’ Request and, upon such processing, to make available the requested
 18 records to Plaintiffs;
 19               c.     For injunctive relief ordering Defendants to grant Plaintiffs’
 20 request for a fee waiver;
 21               d.     For Plaintiffs’ reasonable attorneys’ fees and other litigation
 22 costs reasonably incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E) and any
 23 other applicable statute; and
 24              For such other relief as the Court may deem just and proper.
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                                            COMPLAINT
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  1 DATED: October 27, 2017           MUNGER, TOLLES & OLSON LLP
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                                        COMPLAINT
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                        EXHIBIT 1
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10/24/2017          Statement by Secretary Jeh Johnson Announcing First Round of DHSs Countering Violent Extremism Grants | Homeland Security

              Official website of the Department of Homeland Security

                         U.S. Department of
                         Homeland Security




          Archived Content
          In an effort to keep DHS.gov current, the archive contains outdated information that may
          not reflect current policy or programs.



        Statement by Secretary Jeh
        Johnson Announcing First Round
        of DHS's Countering Violent
        Extremism Grants
        Release Date: January 13, 2017

        For Immediate Release
        Office of the Press Secretary
        Contact: 202-282-8010

        In 2016, Congress answered our call for federal grants, awarded and administered by the
        Department of Homeland Security, to support local efforts to counter violent extremism.
        Today, I am pleased to announce the first round of awards of these grants.

        A total of 31 proposals, from various organizations in multiple communities, have been
        accepted to receive some part of the $10 million appropriated by Congress last year. The
        funding will go for activities that include intervention, developing resilience, challenging the
        narrative, and building capacity. The organizations approved for grants include local
        governments, universities, and non-profit organizations, in locations across the country such
        as Boston, Minneapolis, Los Angeles, Detroit, Nebraska, Houston, Illinois, New Jersey, Texas
        and New York City. Among the awardees are organizations devoted specifically to countering
        ISIL’s recruitment efforts in our homeland, and Life After Hate, an organization devoted to the
        rehabilitation of former neo-Nazis and other domestic extremists in this country.


https://www.dhs.gov/news/2017/01/13/statement-secretary-jeh-johnson-announcing-first-round-dhss-countering-violent                              1/3
                                                                                                                                   Exhibit 1
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10/24/2017          Statement by Secretary Jeh Johnson Announcing First Round of DHSs Countering Violent Extremism Grants | Homeland Security

        In this age of self-radicalization and terrorist-inspired acts of violence, domestic-based efforts
        to counter violent extremism have become a homeland security imperative. And, I know from
        visiting numerous communities across this country that very often the best efforts to counter
        violent extremism are local, tailored to a particular community. My hope is that Congress will
        continue to fund this type of grant activity in the future. Again, this is a homeland security
        imperative.

        Awardees by Category and Areas Served

        Developing Resilience

                  Police Foundation - $463,185 (Boston)
                  Ka Joog Nonprofit Organization – $499,998 (Minneapolis)
                  Heartland Democracy Center – $165,435 (Minneapolis)
                  Leaders Advancing and Helping Communities - $500,000 (Dearborn, Mich.)
                  Tuesday’s Children - $147,154 (Nationwide)
                  Music in Common - $159,000 (Nationwide)
                  Peace Catalyst International, INC - $95,000 (Nationwide)
                  Coptic Orthodox Charities - $150,000 (Nationwide)

        Training and Engagement

                City of Houston, Mayor’s Office of Public Safety & Homeland Security - $400,000
             (Houston)
                  City of Arlington, Police - $47,497 (Arlington, TX)
                  Illinois Criminal Justice Information Authority - $187,877 (Illinois)
                  Global Peace Foundation - $150,000 (New Jersey)
                  Nebraska Emergency Management Agency - $300,000 (Nebraska)
                  City of Dearborn Police Department - $51,521 (Dearborn, Mich.)
                  City of Los Angeles, Mayor’s Office of Public Safety - $400,000 (Los Angeles)
                  Denver Police Department - $240,000 (Denver)
                  National Consortium for Advanced Policing - $200,000 (Nationwide)

        Managing Interventions

                  City of Los Angeles, Mayor’s Office of Public Safety - $425,000 (Los Angeles)
                  Crisis Intervention of Houston, Inc. - $400,000 (Houston)

https://www.dhs.gov/news/2017/01/13/statement-secretary-jeh-johnson-announcing-first-round-dhss-countering-violent                              2/3
                                                                                                                                   Exhibit 1
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10/24/2017          Statement by Secretary Jeh Johnson Announcing First Round of DHSs Countering Violent Extremism Grants | Homeland Security

                  Las Vegas Metropolitan Police Department - $425,000 (Las Vegas)
                  Life After Hate Inc. - $400,000 (Nationwide)
                  Muslim Public Affairs Council Foundation - $393,800 (Nationwide)

        Challenging the Narrative

                  Project Help Nevada, Inc. - $150,000 (Reno, Nev.)
                  Unity Productions Foundation - $396,585 (Nationwide)
                  America Abroad Media - $647,546 (Nationwide)
                  Rochester Institute of Technology - $149,955 (Nationwide)
                  Masjid Muhammad, Inc. - $450,000 (Nationwide)
                  The University of North Carolina at Chapel Hill - $866,687 (Nationwide)
                  Muslim American Leadership Alliance - $40,000 (Nationwide)

        Building Capacity

                  Counter Extremism Project - $298,760 (New York)
                  Claremont School of Theology - $800,000 (Los Angeles)

                                                                        ###

        Keywords:d countering violent extremism (/keywords/countering-violent-extremism) , grants (/keywords/grants) , Secretary
        Johnson (/keywords/secretary-johnson)

        Last Published Date: January 13, 2017




https://www.dhs.gov/news/2017/01/13/statement-secretary-jeh-johnson-announcing-first-round-dhss-countering-violent                              3/3
                                                                                                                                   Exhibit 1
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                        EXHIBIT 2
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PRESS RELEASE                                                  CONTACT:
FOR IMMEDIATE DISTRIBUTION                                     Randy Bunnao, Communications Director
November 13, 2014                                              Asian Americans Advancing Justice – LA
                                                               213-241-0227, rbunnao@advancingjustice-la.org

 LOS ANGELES BASED GROUPS SERVING AMERICAN MUSLIM COMMUNITIES QUESTION
    FEDERAL GOVERNMENT’S “COUNTERING VIOLENT EXTREMISM” PROGRAMS AS
                     ILL-CONCEIVED, INEFFECTIVE, AND STIGMATIZING
  Groups Call on Secretary of Homeland Security Jeh Johnson to Heed Failure of Prior Programs That
  Indiscriminately Targeted American Muslim Communities, to Re-build Community Trust by Ensuring
  Existing Counter-Terrorism Programs Protect Civil Liberties, and to Refrain from Religious Targeting


LOS ANGELES – We the undersigned community-based and advocacy organizations that serve American
Muslim and other impacted communities in Southern California urge Secretary Jeh Johnson and the Department of
Homeland Security (DHS) to address our grave concerns regarding the government’s proposed Countering Violent
Extremism (CVE) programs. Several months ago, Attorney General Holder announced that the government would
establish pilot CVE programs in three cities across the country, including Los Angeles. DHS has already spent an
unknown amount of federal resources to lay the groundwork for this program in advance of today’s meeting with
Secretary Johnson.

While we appreciate the invitation to meet with DHS in the last several weeks, and with Secretary Johnson today,
we have serious reservations regarding the program while the government has failed to provide us or the
communities we serve with any meaningful details about the CVE programs they intend to implement.

What little we know about the program – that it seeks to encourage individuals in American Muslim communities
to intervene with and report to law enforcement “suspect” expressions and behavior of others in their communities
– leaves us very disturbed about the obvious civil liberties implications on members of our communities. As
described here, Southern California’s past experience with similar misguided post 9/11 anti-terrorisms programs
that indiscriminately targeted large swaths of our communities as suspect leaves us highly skeptical about their
effectiveness. While we, like the vast majority of Americans, strive to live in communities free of violence and
extremism, we cannot in good conscience sanction programs that are discriminatory and appear so rife with the
possibility of subjecting members of our communities to unwarranted scrutiny and abuse.

As a result, we have serious unanswered questions about the nature of the CVE program, including the following:
(1) Why did the government target Los Angeles, Boston, and Minneapolis as the target cities for the CVE
initiative? (2) What steps will be taken to ensure that the CVE program does not target protected religious and
political expression within our communities? (3) What analysis has the government done to assess the effectiveness
of any CVE programs, including in other countries like the U.K.? (4) How much money has been allocated for the
CVE initiative and into what programs is that money being directed? (5) Has the government contracted with local
municipalities to implement CVE programs and if so, what role will municipalities play?



                                                                                                    Exhibit 2
                                                                                                          28
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The government's lack of transparency on these basic questions despite its many convenings with groups like ours
makes it particularly difficult to trust the program. We further cannot support the introduction of the CVE program
into our communities for the following reasons.

The Context of the CVE Program

We understand this program against the backdrop of the over decade-long history of the federal government’s
intrusive surveillance on mosque communities and American Muslims more generally, absent evidence of their
engaging in any criminal activity. The FBI has targeted mosques and community organizations in Southern
California for intelligence gathering, it has used informants to infiltrate community spaces, and it has pressured
law-abiding community members to become informants. When our communities have learned and inquired about
these activities, FBI officials have lied to us – specifically in response to questions about these surveillance tactics
against sacred Muslim institutions. When these programs have nevertheless been revealed and challenged in court,
the government has invoked its need for secrecy to prevent transparency. Even to this day, the federal government
remains unwilling to ban religious profiling in national security investigations, continuing to treat an individual’s
religion as a suspect characteristic.

DHS may argue that CVE programs are an alternative to the FBI’s discredited historic approach. However, the fact
that DHS was often working hand in hand with the FBI on its over-reaching investigations through fusion centers,
joint terrorism task forces, and terrorism watch lists, renders its attempt to distance itself from FBI surveillance
tactics not credible. In light of the failure of the federal government at any level to ensure safeguards against
religious profiling, we cannot help but believe that CVE programs will open the doors to further profiling of
American Muslims and other impacted communities.

The Selective Nature of CVE and its Impact

Many community members we have spoken with are deeply concerned about the past actions of law enforcement
in Southern California as described above, which leads them to believe that any CVE program will specifically
target, stigmatize, and infringe upon the protected rights of Muslim community members in Southern California.

These misgivings are reinforced by the absence of CVE-type programs to combat other forms of extremism in
other communities, e.g. white supremacists and anarchists in white communities. Despite the government’s
acknowledgement that violent extremism is a phenomenon that is not unique to American Muslim communities,
the government’s CVE program remains focused solely on American Muslim communities.1 This is so despite
evidence that since the 9/11 attacks, “extremists affiliated with a variety of far-right wing ideologies...have killed
more people in the United States than have extremists motivated by al-Qaeda's ideology.”2

As former FBI Special Agent Michael German observed on October 9, 2014, “There were no DHS or [DOJ] CVE
programs, for example, directed to white, Christian communities after former Ku Klux Klansman Frazier Glenn
Miller murdered people at a Jewish community center last April, even though West Point’s Combatting Terrorism
Center reported that far right extremists attack and kill more Americans than any other terror groups.” 3 Similarly,
no equivalent program was announced after “sovereign citizens” gunned down two Louisiana Sherriff’s deputies in
2012. By focusing CVE programs on American Muslim communities, the government makes the baseless

        1
          “Although the [Strategic Implementation Plan] will be applied to prevent all forms of violent extremism, we will
        prioritize preventing violent extremism and terrorism that is inspired by al-Qa’ida and its affiliates and adherents…”
        http://www.whitehouse.gov/sites/default/files/sip-final.pdf “Communities – especially Muslim American
        communities whose, children, families and neighbors are being targeted for recruitment by al-Qa’ida – are often best
        positioned to take the lead because they know their communities best.”
        http://www.whitehouse.gov/sites/default/files/empowering_local_partners.pdf
        2
          http://edition.cnn.com/2014/04/14/opinion/bergen-sterman-kansas-shooting/
        3
          http://www.brennancenter.org/analysis/stigmatizing-boston-muslim-community-no-way-build-trust
        www.advancingjustice-la.org


                                                                                                                     Exhibit 2
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insinuation that American Muslims are responsible for more violence than others, and the faulty conclusion that
members of their communities have a greater responsibility for countering such violence.

Making intelligence decisions based on religious and political beliefs also results in a misuse of public resources.
The CVE program is not the first time we have seen this. The DHS’s partnership with local law enforcement to
gather information on “suspicious activity” was harshly criticized as a massive waste of resources by the bipartisan
Senate Permanent Subcommittee on Investigations in 2012. As Senator Tom Coburn stated, “fusion centers that
were designed to share information in a post-9/11 world have become part of the problem. Instead of strengthening
our counterterrorism efforts, they have too often wasted money and stepped on Americans’ civil liberties.” 4

The selective targeting and gross generalizations of Muslims and those perceived as Muslims reinforces the
likelihood that they will be the subject of discrimination in the employment, public sector, and education arenas.
We are particularly concerned about the impact of these programs on our youth—their growth and development as
citizens and their ability to be civically engaged in important political and ideological discussions. The
infringement of free speech rights on campuses, and the bullying and harassment of Muslims and those perceived
as Muslim, which have been well-documented with the Department of Education in recent years, is a consequence
of the continued criminalization of Muslims and other people of color through programs such as this.

Policing Ideology and Constitutionality
Our concerns regarding the selective targeting of Muslims for the CVE program should not be construed as a call
for more CVE programs in other communities; in fact, one of our primary concerns about CVE is that it is not the
place of government to determine what ideologies or religious opinions are problematic, and it involves tactics not
grounded in targeting criminal activities that are problematic as applied to any group. Police and the intelligence
community should follow proven criminal law enforcement standards and involve themselves only where there is
actual evidence of criminal activity, and not on the faulty premise that an entire community is suspect by
association.

The information presented by the government to date on possible CVE interventions suggests that constitutionally-
protected activities may make a person the subject of law enforcement scrutiny. For example, Lisa Monaco, the
Assistant to the President for Homeland Security and Counterterrorism, suggested that the CVE program could lead
to law enforcement scrutiny if religious leaders report “unexpected clashes over ideological differences” at
mosques or teachers report “a student expressing an interest in traveling to a conflict zone overseas.” These
examples suggest that the government seeks to use the CVE program to not only determine which ideological
leanings are “good” or “bad”, but turn religious leaders, teachers, and other community members into monitors of
their fellow members’ protected religious and speech activities.5

Because the government has failed to establish clear rules protecting First Amendment activity and privacy
interests in the CVE context, individuals eager to intervene or assist law enforcement are likely to over-report on
the political opinions and religious beliefs of others—information that the federal government has used in the past
to surveill and prosecute members of our community, even though they were not involved in any violent activity.

Recommendations

       4
         The committee’s report found that “DHS’s involvement with fusion centers appeared not to have yielded timely,
       useful, terrorism-related intelligence for the federal intelligence community,” and, remarkably, that “[d]espite
       reviewing 13 months’ worth of reporting originating from fusion centers from April 1, 2009 to April 30, 2010, the
       Subcommittee investigation could identify no reporting which uncovered a terrorist threat, nor could it identify a
       contribution such fusion center reporting made to disrupt an active terrorist plot.” Information on the report is
       available at http://www.hsgac.senate.gov/subcommittees/investigations/media/investigative-report-criticizes-
       counterterrorism-reporting-waste-at-state-and-local-intelligence-fusion-centers.
       5
         Ms. Monaco’s comments are available at http://www.whitehouse.gov/the-press-office/2014/04/16/remarks-
       assistant-president-homeland-security-and-counterterrorism-lisa-.
       www.advancingjustice-la.org


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It is our recommendation that the government stop investing in CVE programs that will only stigmatize and
marginalize our communities further, and instead assist our communities to become more fully engaged
participants in our democratic system, including by doing the following:

   x   The government should stop focusing its efforts to counter violence on Muslim communities, but simply
       target violent activity generally, regardless of its ideological origins;

   x   The government should stop undermining our leadership development, civic engagement, and youth
       empowerment work through its continued use of informants, surveillance, profiling, travel scrutiny,
       immigration delays, and criminalization of our communities;

   x   The government should declare that it no longer considers religion a valid basis to consider an individual as
       a target for law enforcement suspicion in national security investigations.

We urge the government to heed the lessons of our history. Targeting communities based on their faith or national
origin raises serious moral and constitutional concerns. As a country we have learned from the unjust and traumatic
internment of Japanese Americans and the targeting of civil rights leaders through COINTELPro that we are at our
weakest as a nation when we violate our own moral and legal authority in response to overbroad national security
concerns. Like all other communities, we cannot guarantee that no person or organization will usurp our faith and
ethnic identities, or manipulate legitimate foreign policy grievances, to justify horrendous acts of violence. We
fully recognize that we live in times rife with conflict and grotesque acts of cruelty. In such times it is even more
important that our government not descend into marginalizing and stigmatizing communities, whose active
participation in our democratic landscape we should be prepared to value and defend.

Council on American-Islamic Relations, Greater Los Angeles Area
Asian Americans Advancing Justice—Los Angeles
American Civil Liberties Union of Southern California
Sikh American Legal Defense and Education Fund—Los Angeles
Islamic Shura Council of Southern California

                                                       ###

Asian Americans Advancing Justice - Los Angeles is the nation’s largest Asian American, Native Hawaiian
and Pacific Islander (AANHPI) legal and civil rights organization and serves more than 15,000 individuals
and organizations every year. Founded in 1983 as the Asian Pacific American Legal Center, Advancing
Justice - LA’s mission is to advocate for civil rights, provide legal services and education, and build coalitions
to positively influence and impact Asian Americans and Pacific Islanders and to create a more equitable and
harmonious society. Through direct legal services, impact litigation, policy analysis and advocacy, leadership
development and capacity building, Advancing Justice - LA seeks to serve the most vulnerable members of the
AANHPI community while also building a strong AANHPI voice for civil rights and social justice.




       www.advancingjustice-la.org


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      VIA CERTIFIED MAIL

      July 6, 2017

      TO:

      Jonathan Cantor                           David M. Hardy, Chief
      Acting Chief Privacy Officer/Chief FOIA   Record/Information Dissemination Section
      Officer                                   Records Management Division
      The Privacy Office                        Federal Bureau of Investigation
      U.S. Department of Homeland Security      Department of Justice
      245 Murray Lane SW                        170 Marcel Drive
      STOP-0655                                 Winchester, VA 22602-4843
      Washington, DC 20528-0655

      U.S. Department of Homeland Security      Deirdre Fike, Assistant Director in Charge
      Los Angeles Field Office                  Federal Bureau of Investigation
      300 North Los Angeles St. Room 7631       Los Angeles Field Office
      Los Angeles, CA 90012                     11000 Wilshire Boulevard
                                                Suite 1700
                                                Los Angeles, CA 90024

      U.S. Department of Homeland Security      Dorothy Lee
      Los Angeles Field Office                  Government Information Specialist
      501 West Ocian Boulevard, Suite 7200      Office of Justice Programs
      Long Beach, CA, 90802                     Department of Justice
                                                Room 5400, 810 7th Street, N.W.
                                                Washington, DC 20531

      Laurie Day                                Chaun E. Eason, FOIA Officer
      Chief, Initial Request Staff              Legal Division
      Office of Information Policy              Office of Community Oriented Policing
      Department of Justice                     Services
      Suite 11050                               Department of Justice
      1425 New York Avenue, N.W.                Two Constitution Square
      Washington, DC 20530-0001                 145 N Street. N.E., #11E 1405
                                                Washington, DC 20530-0001


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      FOIA/PA Mail Referral Unit                                    Kevin Krebs
      Department of Justice                                         Assistant Director, FOIA/Privacy Unit
      Room 115                                                      Executive Office for United States
      LOC Building                                                  Attorneys
      Washington, DC 20530-0001                                     Department of Justice
                                                                    Room 7300, 600 E Street, N.W.
                                                                    Washington, DC 20530-0001

      FEMA Information Management Division
      FOIA Request
      500 C Street, S.W., Mailstop 3172
      Washington, DC 20472


      FROM:


      Asian Americans Advancing Justice – Los                       Council on American-Islamic Relations
      Angeles                                                       Greater Los Angeles Area Chapter
      c/o Laboni Hoq                                                c/o Masih Fouladi
      1145 Wilshire Blvd.                                           2180 W. Crescent Ave., Suite F
      Los Angeles, CA 90017                                         Anaheim, CA 92801

      Vigilant Love Coalition                                       ACLU Foundation of Southern California
      c/o Sahar Pirzada                                             c/o Ahilan Arulanantham
      1145 Wilshire Blvd.                                           131 W. 8th St.
      Los Angeles, CA 90017                                         Los Angeles, CA 90017




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                Re: Request Under Freedom of Information Act

      To Whom It May Concern:

                    This is a Freedom of Information Act (“FOIA”) request (the “Request”) submitted
      to the U.S. Department of Homeland Security (“DHS”), including but not limited to the
      Federal Emergency Management Agency (“FEMA”), and U.S. Department of Justice
      (“DOJ”), including but not limited to the Federal Bureau of Investigation (“FBI”),
      (collectively, the “Agencies”) for copies of records, documents, exhibits, applications,
      and notices related to the Countering Violent Extremism (“CVE”) Grant Program. This
      Request is made by Asian Americans Advancing Justice – Los Angeles (“Advancing
      Justice - LA”)1, the Council on American-Islamic Relations of California (“CAIR-CA”)2,
      the Vigilant Love Coalition (“Vigilant Love”)3, and the American Civil Liberties Union
      of Southern California (“ACLU SoCal”)4 (collectively, the “Requesters”) pursuant to 5
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      1
                    Asian Americans Advancing Justice – Los Angeles is a 501(c)(3) nonprofit
      organization whose mission is to advocate for civil rights, provide legal services and
      education, and build coalitions to positively influence and impact Asian Americans,
      Native Hawaiians, and Pacific Islanders and to create a more equitable and harmonious
      society. Founded in 1983 as the Asian Pacific American Legal Center, Advancing
      Justice-LA serves more than 15,000 individuals and organizations every year through
      direct services, impact litigation, policy advocacy, leadership development, and capacity
      building.
      2
                    The Council on American-Islamic Relations (“CAIR”) is a 501(c)(3) nonprofit,
      grassroots civil rights and advocacy organization. CAIR is America’s largest Muslim
      civil liberties organization, with affiliate offices nationwide, including CAIR-CA. Its
      mission is to enhance understanding of Islam, encourage dialogue, protect civil liberties,
      empower American Muslims, and build coalitions that promote justice and mutual
      understanding. CAIR-CA has offices in the Greater Los Angeles, San Francisco,
      Sacramento and San Diego areas.
      3
                    Vigilant Love is a coalition of allies using the power of solidarity and
      #VigilantLOVE to actively defend the safety and justice of the communities and
      individuals affected by Islamophobia in the Greater Los Angeles Area. Vigilant Love is
      a community-based, grassroots coalition where community voices can be heard,
      validated, and translated into collective action.
      4
                    ACLU SoCal is a branch of the American Civil Liberties Union and the American
      Civil Liberties Union Foundation (together, the “ACLU”). The American Civil Liberties
      Union Foundation is a 501(c)(3) organization that provides legal representation free of
      charge to individuals and organizations in civil rights and civil liberties cases, educates
      the public about the civil rights and civil liberties implications of pending and proposed
      state and federal legislation, provides analyses of pending and proposed legislation,
      directly lobbies legislators, and mobilizes its members to lobby their legislators. The
      American Civil Liberties Union is a separate nonprofit 501(c)(4) membership
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     U.S.C. § 552 et seq. The Requesters ask that you direct this request to all appropriate
     officials, agencies, offices, components, and/or departments within the Agencies.

     I.           BACKGROUND

             In 2011, the White House released a Strategic Implementation Plan with the
     “overarching goal of preventing violent extremists and their supporters from inspiring,
     radicalizing, financing or recruiting individuals or groups in the United States to commit
     acts of violence.”5 The plan describes federal support for “community-led efforts to build
     resilience to violent extremism” and “preventative programming,” and it identifies three
     “areas of priority action”:

                                (1) enhancing Federal engagement with and support to
                                local communities that may be targeted by violent
                                extremists; (2) building government and law enforcement
                                expertise for preventing violent extremism; and (3)
                                countering violent extremist propaganda while promoting
                                our ideals.6

             In September 2014, Attorney General Eric Holder announced a CVE pilot
     program, the stated intent of which is to “bring together community representatives,
     public safety officials, religious leaders, and United States Attorneys to improve local
     engagement; to counter violent extremism; and—ultimately—to build a broad network of
     community partnerships to keep our nation safe.”7

            In February 2015, the White House convened a three-day summit on CVE. The
     summit focused on “the drivers and indicators of radicalization and recruitment to
     violence”; methods of “directly addressing and countering violent extremist recruitment


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     organization that educates the public about the civil liberties implications of pending and
     proposed state and federal legislation, provides analyses of pending and proposed
     legislation, directly lobbies legislators, and mobilizes its members to lobby their
     legislators.
     5
                   Office of the President, Strategic Implementation Plan for Empowering Local
     Partners to Prevent Violent Extremism in the United States 1-2 (Dec. 2011),
     https://obamawhitehouse.archives.gov/sites/default/files/sip-final.pdf. The Strategic
     Implementation Plan defines “violent extremists” as individuals who support or commit
     ideologically motivated violence to further political goals.” Id. at 1 n.1.
     6
                   Id. at 2, 7, 10.
     7
                   Press Release, Attorney General Holder Announces Pilot Program to Counter
     Violent Extremists (Sept. 15, 2014), http://goo.gl/1TIzfC.
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      narratives”; and “empowering community efforts to disrupt the radicalization process.”8
      The White House announced that it would be seeking $15 million in appropriated
      funding for “community-led” CVE efforts and that it had already awarded nearly $3.5
      million in grants through the National Institute of Justice “to address domestic
      radicalization to violent extremism.”9

             In December 2015, Congress allocated $10 million for DHS’s Office of
      Community Partnerships to administer the CVE Grant Program—specifically, to
      “provide[] on a competitive basis directly to states, local governments, tribal
      governments, nonprofit organizations, or institutions of higher education” to “prepare for,
      prevent, and respond to emergent threats from violent extremism.”

               FEMA has been tasked with, inter alia, administering the CVE Grant Program,
      soliciting and evaluating applications, and monitoring the program.10 In July 2016, DHS
      posted a “Notice of Funding Opportunity” (“NOFO”) for the Fiscal Year 2016 CVE
      Grant Program.11 The NOFO solicited applications—to be submitted no later than
      September 6, 2016—from states, local governments, tribal governments, nonprofit
      organizations, and higher education institutions.12 The NOFO identified “five focus areas
      for eligible activities that current research . . . has shown to be likely to be the most
      effective in countering violent extremism,” namely: (1) “[d]eveloping resistance”; (2)
      “[t]raining and engaging with community members”; (3) “[m]anaging intervention
      activities”; (4) “[c]hallenging the narrative; and (5) “[b]uilding capacity of community-
      level non-profit organizations active in CVE.”13 The NOFO further provided,
      “Applications which describe programs[,] projects or activities which do not
      appropriately protect privacy, civil rights or civil liberties will be deemed ineligible for
      funding.”14



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      8
                    The White House, Fact Sheet: The White House Summit on Countering Violent
      Extremism (Feb. 18, 2015), http://goo.gl/X1bnHk.
      9
                    Id.
      10
                    See U.S. Dep’t of Homeland Security, Fact Sheet: FY 2016 Countering Violent
      Extremism (CVE) Grants (July 6, 2016), https://www.dhs.gov/news/2016/07/06/fy-2016-
      countering-violent-extremism-cve-grants.
      11
                    U.S. Dep’t of Homeland Security, DHS-16-OCP-132-00-01, Notice of Funding
      Opportunity: Fiscal Year 2016 Countering Violent Extremism (CVE) Grant Program 5,
      https://www.fema.gov/media-library-data/1467814173660-
      58024ff00713060a31e54a2b0b54deb9/FY16_CVE_NOFO_Final.pdf.
      12
                    Id. at 4-5.
      13
                    Id. at 3-4.
      14
                    Id. at 5.
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             On January 13, 2017, the DHS Office of the Press Secretary released a “Statement
      by Secretary Jeh Johnson Announcing First Round of DHS’s Countering Violent
      Extremism Grants.” The statement read in part:

                          A total of 31 proposals, from various organizations in
                          multiple communities, have been accepted to receive some
                          part of the $10 million appropriated by Congress last year.
                          The funding will go for activities that include intervention,
                          developing resilience, challenging the narrative, and
                          building capacity. The organizations approved for grants
                          include local governments, universities, and non-profit
                          organizations, in locations across the country such as
                          Boston, Minneapolis, Los Angeles, Detroit, Nebraska,
                          Houston, Illinois, New Jersey, Texas and New York City.
                          Among the awardees are organizations devoted specifically
                          to countering ISIL’s recruitment efforts in our homeland,
                          and Life After Hate, an organization devoted to the
                          rehabilitation of former neo-Nazis and other domestic
                          extremists in this country.15

      The statement identified 31 grantees, as listed below in Table 1.

      Table 1. CVE Grant Program Grantees Identified in Jan. 13 DHS Statement.16

                                                                                       Grant          Service
      Focus Area                      Grantee Name
                                                                                       Amount         Area
      Challenging the Narrative       America Abroad Media                             $647,546       Nationwide
                                                                                                      Arlington,
      Training and Engagement         City of Arlington, Police                          $47,497
                                                                                                      Texas
                                                                                                      Dearborn,
      Training and Engagement         City of Dearborn Police Department                 $51,521
                                                                                                      Michigan
                                      City of Houston, Mayor’s Office of
      Training and Engagement                                                           $400,000      Houston
                                      Public Safety & Homeland Security
                                      City of Los Angeles, Mayor’s Office of
      Managing Interventions                                                            $425,000      Los Angeles
                                      Public Safety
                                      City of Los Angeles, Mayor’s Office of
      Training and Engagement                                                           $400,000      Los Angeles
                                      Public Safety

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      15
                    U.S. Dep’t of Homeland Security Office of the Press Secretary, Statement by
      Secretary Jeh Johnson Announcing First Round of DHS’s Countering Violent Extremism
      Grants (Jan. 13, 2017), https://www.dhs.gov/news/2017/01/13/statement-secretary-jeh-
      johnson-announcing-first-round-dhss-countering-violent [hereinafter “Jan. 13, 2017 DHS
      Statement”].
      16
                    Id.
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       Building Capacity               Claremont School of Theology                      $800,000      Los Angeles
       Developing Resilience           Coptic Orthodox Charities                         $150,000      Nationwide
       Building Capacity               Counter Extremism Project                         $298,760      New York
       Managing Interventions          Crisis Intervention of Houston, Inc.              $400,000      Houston
       Training and Engagement         Denver Police Department                          $240,000      Denver
       Training and Engagement         Global Peace Foundation                           $150,000      New Jersey
       Developing Resilience           Heartland Democracy Center                        $165,435      Minneapolis
                                       Illinois Criminal Justice Information
       Training and Engagement                                                           $187,877      Illinois
                                       Authority
       Developing Resilience           Ka Joog Nonprofit Organization                    $499,998      Minneapolis
                                       Las Vegas Metropolitan Police
       Managing Interventions                                                            $425,000      Las Vegas
                                       Department
                                       Leaders Advancing and Helping                                   Dearborn,
       Developing Resilience                                                             $500,000
                                       Communities                                                     Michigan
       Managing Interventions          Life After Hate Inc.                              $400,000      Nationwide
       Challenging the Narrative       Masjid Muhammad, Inc.                             $450,000      Nationwide
       Developing Resilience           Music in Common                                   $159,000      Nationwide
       Challenging the Narrative       Muslim American Leadership Alliance                $40,000      Nationwide
                                       Muslim Public Affairs Council
       Managing Interventions                                                            $393,800      Nationwide
                                       Foundation
                                       National Consortium for Advanced
       Training and Engagement                                                           $200,000      Nationwide
                                       Policing
                                       Nebraska Emergency Management
       Training and Engagement                                                           $300,000      Nebraska
                                       Agency
       Developing Resilience           Peace Catalyst International                       $95,000      Nationwide
       Developing Resilience           Police Foundation                                 $463,185      Boston
                                                                                                       Reno,
       Challenging the Narrative       Project Help Nevada, Inc.                         $150,000
                                                                                                       Nevada
       Challenging the Narrative       Rochester Institute of Technology                 $149,955      Nationwide
                                       The University of North Carolina at
       Challenging the Narrative                                                         $866,687      Nationwide
                                       Chapel Hill
       Developing Resilience           Tuesday’s Children                                $147,154      Nationwide
       Challenging the Narrative       Unity Productions Foundation                      $396,585      Nationwide


               On June 23, 2017, the DHS Office of the Press Secretary released a statement
       titled “DHS Awards Grants to Counter Terrorist Recruitment and Radicalization in the
       U.S.”17 The statement announced, “DHS [had] awarded $10 million to 26 local law

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       17
                     U.S. Dep’t of Homeland Security Office of the Press Secretary, DHS Awards
       Grants to Counter Terrorist Recruitment and Radicalization in the U.S. (June 23, 2017),
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     enforcement and community organizations.”18 The statement provided a link to a
     webpage listing the 26 grantees.19 The statement also read:

                                “We are witnessing a global surge in terrorist activity, and
                                in many ways our own backyard has become the
                                battleground,” said Secretary of Homeland Security John F.
                                Kelly. “That is why DHS is focused on stepping up efforts
                                to counter terrorist recruitment and radicalization, including
                                through close collaboration with state and local partners.
                                Shortly, after starting at DHS, I requested a thorough policy
                                review of the CVE Grant Program to ensure taxpayer
                                dollars go to programs with the highest likelihood of
                                success, that support the men and women on the front lines
                                of this fight, and that can be self-sustaining into the future.
                                We will closely monitor these efforts to identify and
                                amplify promising approaches to prevent terrorism.”20

             The June 23 List was significantly different from the list of grantees provided in
     the Jan. 13 DHS Statement. First, eleven grantees identified in the Jan. 13 DHS
     Statement were not included in the June 23 List.21 These entities were:

                  •      Claremont School of Theology;
                  •      Coptic Orthodox Charities;
                  •      Ka Joog Nonprofit Organization;
                  •      Leaders Advancing and Helping Communities;
                  •      Life After Hate Inc.;
                  •      Music in Common;
                  •      Muslim American Leadership Alliance;
                  •      Muslim Public Affairs Council Foundation;
                  •      Project Help Nevada, Inc.;
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     https://www.dhs.gov/news/2017/06/23/dhs-awards-grants-counter-terrorist-recruitment-
     and-radicalization-us [hereinafter “June 23, 2017 DHS Statement”].
     18
                   Id.
     19
                   See id.; U.S. Dep’t of Homeland Security, DHS Countering Violent Extremism
     Grants (June 23, 2017), https://www.dhs.gov/cvegrants [hereinafter “June 23 List”].
     20
                   Id. News reports indicated that DHS was contemplating focusing CVE efforts
     exclusively on countering Islamic radicalization. See, e.g., Julia Edwards Ainsley et al.,
     Exclusive: Trump to focus counter-extremism program solely on Islam - sources, Reuters
     (Feb. 2, 2017), http://www.reuters.com/article/us-usa-trump-extremists-program-
     exclusiv-idUSKBN15G5VO.
     21
                   Compare Jan. 13 DHS Statement with June 23 List.
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                •     The University of North Carolina at Chapel Hill; and
                •     Unity Productions Foundation.22

      Second, the Jan. 13 DHS Statement indicated that the City of Los Angeles, Mayor’s
      Office of Public Safety (“Los Angeles Mayor’s Office”) would receive two grants: one
      grant in the Training and Engagement focus area and another grant in Managing
      Interventions. The June 23 List indicated that the Los Angeles Mayor’s Office would
      receive only one grant in Managing Interventions. Third, the June 23 List indicated that
      the grant amounts for nine grantees had been increased, as compared to the grant amounts
      specified in the Jan. 13 DHS Statement. The increased funding is reflected below in
      Table 2.

      Table 2. Grantees with Increased Funding in June 23 List23

      Focus Area           Grantee Name                                  Change in Funding
      Training and         City of Houston, Mayor’s Office of
                                                                         Increased from $400,000 to $500,000
      Engagement           Public Safety & Homeland Security
      Managing
                           Crisis Intervention of Houston, Inc.          Increased from $400,000 to $500,000
      Interventions
      Training and
                           Denver Police Department                      Increased from $240,000 to $481,313
      Engagement
      Training and
                           Global Peace Foundation                       Increased from $150,000 to $453,497
      Engagement
      Developing
                           Heartland Democracy Center                    Increased from $165,435 to $423,340
      Resilience
      Managing             Las Vegas Metropolitan Police
                                                                         Increased from $425,000 to $500,000
      Interventions        Department

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      22
                    News reports indicate that the current administration withdrew the CVE grants
      awarded to Muslim Public Affairs Council, Life After Hate Inc., and the University of
      North Carolina at Chapel Hill by the previous administration. Bethany Allen-
      Ebrahimian, DHS Strips Funding From Group That Counters Neo-Nazi Violence,
      Foreign Policy (June 26, 2017), http://foreignpolicy.com/2017/06/26/dhs-strips-funding-
      from-group-that-counters-neo-nazi-violence/; Daniel Lippman, DHS halts planned
      funding for anti-white extremism group, Politico (June 23, 2017), http://www.politico.
      com/story/2017/06/23/playbook-dhs-extremism-life-after-hate-239889; Jay Price, Trump
      Administration Removes UNC From Anti-Extremism Program, WUNC (June 23, 2017),
      http://wunc.org/post/trump-administration-removes-unc-anti-extremism-
      program#stream/0. News outlets also reported that several groups declined to accept
      their CVE grants. See, e.g., Stephen Montemayor, Homeland Security announces two
      counterextremism grants for Minnesota, Star Tribune (June 24, 2017), http://www.
      startribune.com/homeland-security-announces-two-extremism-grants-for-
      minnesota/430455753/ (reporting that Ka Joog declined to accept CVE grant).
      23
                    Compare Jan. 13 DHS Statement with June 23 List.
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      Challenging the
                           Masjid Muhammad, Inc.                         Increased from $450,000 to $531,195
      Narrative
      Developing
                           Police Foundation                             Increased from $463,185 to $484,835
      Resilience
      Developing
                           Tuesday’s Children                            Increased from $147,154 to $386,670
      Resilience

      Fourth, the June 23 List included seven new grantees, which had not been identified in
      the Jan. 13 DHS Statement, as indicated below in Table 3.

      Table 3. New Grantees in June 23 List.24

                                                                                    Grant
      Focus Area                      Grantee Name                                                Service Area
                                                                                    Amount
                                                                                                  Alameda,
      Managing Interventions          Alameda County Sheriff’s Office               $499,125
                                                                                                  California
      Training and Engagement         Hennepin County Sheriff’s Office              $347,600      Minneapolis
                                      Massachusetts Executive Office of
      Managing Interventions                                                        $500,000      Massachusetts
                                      Public Safety and Security
                                      Nashville International Center for
      Developing Resilience                                                         $445,110      Nashville
                                      Empowerment
                                      National Governors Association
      Training and Engagement                                                       $500,000      Nationwide
                                      (NGA) Center for Best Practices
      Developing Resilience           Seattle Police Department                     $409,390      Seattle
      Building Capacity               University of San Diego                       $634,769      San Diego


      II.       FORMAL REQUEST

              For the purposes of this request, “Records” are collectively defined to include, but
      are not limited to: text communications between phones or other electronic devices
      (including, but not limited to, communications sent via SMS or other text messaging
      services, such as Blackberry Messenger, iMessage, WhatsApp, Signal, Google Hangouts,
      and Twitter direct messaging); e-mails; images, video, and audio recorded on cellular
      phones or similar devices; voicemail messages; social media posts; instructions;
      directives; guidance documents; formal and informal presentations; training documents;
      bulletins; alerts; updates; advisories; reports; legal and policy memoranda; contracts or
      agreements; minutes or notes of meetings and phone calls; and formal and informal
      memoranda of any kind.

                We request the release of the following:



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      24
                    Compare Jan. 13 DHS Statement with June 23 List.
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            (1)    Records of all communications with any and all entities that considered
     submitting applications to the CVE Grant Program;

            (2)      Records of all communications with any and all entities that submitted
     applications to the CVE Grant Program, including but not limited to copies of all grant
     applications;

          (3)     Records identifying all entities that submitted grant applications to the
     CVE Grant Program;

            (4)     Records of all applications and any supporting documentation submitted
     by any entity seeking a grant under the CVE Grant Program;

            (5)     Records, including but not limited to all directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to any federal agency official’s evaluation of
     applications submitted to the CVE Grant Program;

            (6)    Records created, referenced, or relied on in connection with DHS’s
     “thorough policy review of the CVE Grant Program” as set forth in the June 23, 2017
     DHS Press Statement referenced above.

            (7)     Records, including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, concerning any re-evaluation or changes to how CVE Grant
     Program applications should be evaluated by relevant federal agency officials since the
     Trump administration took office;

             (8)    Records, including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to any review, re-evaluation or change in the
     federal government’s position, approach, focus, or priorities relating to CVE under the
     Trump administration;

             (9)    Records, including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to the federal government’s withdrawal of
     grants it awarded under the CVE Grant Program from any and all entities identified as
     CVE Grant Program awardees in the “Statement by Secretary Jeh Johnson Announcing
     First Round of DHS’s Countering Violent Extremism Grants,” dated January 13, 2017,
     including but not limited to Records pertaining to the withdrawal of grants awarded to
     Claremont School of Theology; Coptic Orthodox Charities; Ka Joog Nonprofit
     Organization; Leaders Advancing and Helping Communities; Life After Hate Inc.; Music
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     in Common; Muslim American Leadership Alliance; Muslim Public Affairs Council
     Foundation; Project Help Nevada, Inc.; The University of North Carolina at Chapel Hill;
     and Unity Productions Foundation;

             (10) Records, including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to the increase in grant amounts for certain
     entities, including but not limited to the grantees listed in Table 2 above;

              (11) Records, including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to grants to new awardees listed in the June
     23 List, including but not limited to Records pertaining to grants awarded to the entities
     listed in Table 3 above;

             (12) Records reflecting the processing, review, evaluation and/or re-evaluation
     of applications submitted to the CVE Grant Program, including but not limited to
     Records identifying the individuals, agencies, and/or entities that processed, reviewed,
     evaluated and/or re-evaluated the applications; and Records reflecting comments,
     opinions, notes, and/or other writings concerning each application submitted to the CVE
     Grant Program;

             (13) Records including but not limited to directives, memoranda,
     communications, memoranda of understanding, training documents, bulletins, reports,
     meetings, or guidance, referring or relating to the monitoring, evaluation, re-evaluation
     and/or performance measurement of the CVE Grant Program, as a whole and/or with
     respect to any of its component parts, including but not limited to recipients of funding
     from the CVE Grant Program;

             (14) Records of all exchange of information, including but not limited to
     directives, memoranda, communications, memoranda of understanding, training
     documents, bulletins, reports, meetings, or guidance, referring or relating to any and all
     meetings, convenings, conferences, conversations, correspondence, and communications
     between any federal agency and any professors, scholars, consultants, experts, specialists,
     and/or any individual purporting to possess knowledge or expertise about countering
     violent extremism;

             (15) Records of all exchange of information, including but not limited to
     directives, memoranda, communications, memoranda of understanding, training
     documents, bulletins, reports, meetings, or guidance, referring or relating to any and all
     meetings, convenings, conferences, conversations, correspondence, and communications
     between any federal agency and any state or local government agencies who sought

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     and/or received any federal funding relating to CVE and/or related, similar or rebranded
     programs; and

               (16)      Any other Records referring or relating to the CVE Grant Program.

     III.      REQUEST FOR WAIVER OF ALL FEES

              The Requesters request a waiver of document search, review, and duplication fees
     on the grounds that disclosure of the requested records is in the public interest and
     because disclosure is “likely to contribute significantly to public understand of the
     operations or activities of the government and is not primarily in the commercial interest
     of the requester.” 5 U.S.C. § 552(a)(4)(A)(iii). The Requesters are nonprofit, public
     interest organizations whose primary interest is to obtain information to further the
     public’s understanding of the CVE Grant Program. The Requesters are not filing this
     Request to further their commercial interests. Any information disclosed as a result of
     this Request will be made available to the public at no cost. Thus, a fee waiver would
     fulfill Congress’s legislative intent in amending the FOIA.

     IV.       REQUEST FOR EXPEDITED PROCESSING

             The Requesters request expedited processing, pursuant to 5 U.S.C. § 552(a)(6)(E).
     There is a “compelling need” for these records, as defined in the statute, because the
     information requested is “urgen[tly]” needed by an organization primarily engaged in
     disseminating information “to inform the public concerning actual or alleged Federal
     Government activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically, the requested records
     seek to inform the public about federal agency activities concerning the CVE Grant
     Program, and in particular any changes to the criteria for making grants. The public has a
     right to know this information on expedited basis, as the grants were recently approved
     and will likely go into effect imminently, resulting in the need to immediately access the
     requested information in order to understand and educate the public about the impact of
     the grant programs.




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     V.        CONCLUSION

            We appreciate your attention to this matter, and we look forward to receiving your
     determination regarding our request for expedited processing within ten (10) calendar
     days. See 5 U.S.C. § 552(a)(6)(E)(ii)(I); 6 C.F.R. § 5.5(d)(4).

             If this Request is denied in whole or in part, the Requesters ask the Agencies to
     justify all withholdings or deletions by reference to specific FOIA exemptions. The
     Requesters expect the Agencies to release all segregable portions of otherwise exempt
     material and reserves the right to appeal a decision to withhold any records or portions of
     records or to deny the requests for a fee waiver and expedited processing.

               Please furnish all applicable records to:

               Laboni Hoq
               Litigation Director
               Asian Americans Advancing Justice – Los Angeles
               1145 Wilshire Blvd., 2nd Floor
               Los Angeles, CA 90017
               lhoq@advancingjustice-la.org

            Thank you for your prompt attention to this matter. I affirm that the information
     provided supporting the request for expedited processing is true and correct to the best of
     my knowledge and belief. See 5 U.S.C. § 552(a)(6)(E)(vi).

                                                                 Sincerely,




                                                                 Laboni Hoq
                                                                 Litigation Director
                                                                 Asian Americans Advancing Justice – Los
                                                                 Angeles
                                                                 1145 Wilshire Blvd.
                                                                 Los Angeles, CA 90017
                                                                 (213) 977-7500 ext. 257




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